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Received
AO 442 (Rev. 10/13) Arrest Warrant U.S. Marshals Service

202) AUS -& PH 1:02

UNITED STATES DISTRICT COURT

for the N/OK
Northern District of Oklahoma

United States of America )
v. )
) Case No. ALM ° SUF. SH
LAURA KAY SAWYER ) | r Ry
Defendant ) a4 Ay D
ARREST WARRANT AUG 1 0 2021
To: Any authorized law enforcement officer Mark C. wicc

7 “ICCarit, Cleric
U.S. DISTRICT COURT
YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) _LAURA KAY SAWYER.
who is accused of an offense or violation based on. the following document filed with the court:

QO) Indictment © Superseding Indictment (J Information © Superseding Information Complaint
C) Probation Violation Petition Cl Supervised Release Violation Petition O Violation Notice Order of the Court

This offense is briefly described as follows:

21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(viii) — Possession of Methamphetamine with Intent to Distribute
21 U.S.C. § 846 — Drug Conspiracy

18 U.S.C. § 924(c)(1)(A)(i) — Possession of a Firearra in Furtherance of a Drug Trafficking Crime

pac S121 at (O17 am, Q

issuing officer's signature

City and state: Tulsa, Oklahoma —Sus t
Printed name and title
Return
This warrant was received on (date) % [tu (2 , and the person was arrested on (date) -‘¥ ( “1 (24
At (city and state) TULSA e Cle LA TOMA

Date: 3/ A f2(

KRoat

Arresting officer's signature

Repeccn eeb sPremel Pe Gere

Printed name and title

DAN/kj
